                  IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION
                    CRIMINAL DOCKET NO.: 3:05CR104-15

UNITED STATES OF AMERICA                         )
                                                 )
             vs.                                 )      ORDER
                                                 )
SONKARLAY LORENZO MCCALL,                                      )
                Defendant.            )
_____________________________________ )

      THIS MATTER is before the Court upon Defendant’s Motion To Sever, filed July

19, 2006.

      Upon consideration of the defendant’s motion, the court finds no good cause has

been shown to sever the defendant.

      IT IS, THEREFORE, ORDERED that defendant’s motion to sever is hereby

DENIED.

      And this matter in respect to the defendant, Sonkarlay McCall, is set for trial at the

October 23, 2006 term.

                                            Signed: July 20, 2006




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